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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                                   03 MDL 1570 (GBD) (SN)

TERRORIST ATTACKS ON                                                    PARTIAL JUDGMENT
SEPTEMBER 11, 2001

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This document relates to:

Bernaerts, et al. v. Islamic Republic of Iran, No. 19-cv-11865 (GBD) (SN)

   It is, ORDERED, ADJUDGED AND DECREED: That for the reasons stated in

the Court's Memorandum Decision and Order dated January 22, 2024, Plaintiff's motion for partial

final default judgment as to solatium damages against the Islamic Republic of Iran is GRANTED.

It is ORDERED that Plaintiff Rachel Uchitel be awarded $12,500,000.00 in solatium damages;

and it is ORDERED that prejudgment interest is awarded at a rate of 4.96 percent per annum, all

interest compounded annually for the period from September 11, 2001 until the date of judgment

in the amount of $24,883,986.20; and it is ORDERED that, to the extent they have not already

done so, all Bernaerts. Plaintiffs are permitted to seek punitive or other damages at a later date,

consistent with future Court orders.


Dated: New York, New York
       April 26, 2024
                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
